        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 1 of 36


 1   DANIELLE OCHS, CA Bar No. 178677
     danielle.ochs@ogletree.com
 2   RYAN C. FINN, CA Bar No. 333209
     ryan.finn@ogletree.com
 3   OGLETREE, DEAKINS, NASH, SMOAK &
     STEWART, P.C.
 4   One Embarcadero Center, Suite 900
     San Francisco, CA 94111
 5   Telephone:    415-442-4810
     Facsimile:    415-442-4870
 6
     Attorneys for Defendant
 7   AMERICOLD LOGISTICS LLC
 8
                                 UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11   SABRINA NISHA, an individual,                 Case No.
12                Plaintiff,                       DEFENDANT AMERICOLD LOGISTICS,
                                                   LLC’S NOTICE OF REMOVAL OF CIVIL
13         v.                                      ACTION TO UNITED STATES DISTRICT
                                                   COURT PURSUANT TO 28 U.S.C. §§ 1332,
14   AMERICOLD LOGISTICS LLC, a Delaware           1441, 1446
     Limited Liability Company; and DOES 1
15   through 20, inclusive,                        [DIVERSITY OF CITIZENSHIP]
16                Defendants.                      [Filed concurrently with Civil Cover Sheet;
                                                   Declaration of Melanie Spry in Support of
17                                                 Removal; and Rule 7.1 Corporate Disclosure
                                                   Statement and Certificate of Interested Parties]
18
                                                   Complaint Filed: January 27, 2023
19                                                 Trial Date:      None Set
20

21

22

23

24

25

26

27

28
                                                                          Case No. _____________
       DEFENDANT AMERICOLD LOGISTICS, LLC’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED
                  STATES DISTRICT COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446
           Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 2 of 36


 1            TO THE CLERK OF THE UNITED STATES DISTRICT COURT, EASTERN
 2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF SABRINA NISHA AND HER
 3   ATTORNEYS OF RECORD:
 4            PLEASE TAKE NOTICE THAT Defendant Americold Logistics LLC. (“Defendant”)
 5   hereby removes this action from the Superior Court of the State of California, County of
 6   Stanislaus, to the United States District Court for the Eastern District of California, pursuant to
 7   28 U.S.C. §§ 1332, 1441(b), and 1446. Defendant does so on the grounds that there is complete
 8   diversity of citizenship between Plaintiff Sabrina Nisha (“Plaintiff”) and Defendant; that the
 9   amount in controversy exceeds the jurisdictional minimum of $75,000 set forth in section 1332(a);
10   and that the foregoing facts were true when Plaintiff filed her complaint and remain true as of the
11   date of the filing of this Notice of Removal.
12   I.       THE STATE COURT ACTION
13            1.    On January 27, 2023, Plaintiff filed a Complaint in the Superior Court of California,
14   County of Stanislaus, captioned SABRINA NISHA vs. AMERICOLD LOGISTICS LLC, case
15   number CV-23-000483 (the “Complaint”). Plaintiff hand-served the Complaint on Defendant’s
16   agent for service of process on February 1, 2023. A true and correct copy of the Complaint and
17   other documents received is attached hereto as Exhibit A. Defendant filed and served its Answer to
18   the Complaint in the Superior Court of the State of California, County of Stanislaus on March 2,
19   2023 (the “Answer”). A true and correct copy of the Answer is attached hereto as Exhibit B.
20   II.      REMOVAL IS TIMELY
21            2.    A defendant in a civil action has (30) days from the date it is served with a
22   summons and complaint to remove that action to federal court. 28 U.S.C. 1446(b)(1); Murphy
23   Bros., Inc. v. Mitchetti Pipe Stringing, Inc., 526 U.S. 344, 347-48 (1999). Plaintiff served the
24   Complaint on Defendant on February 1, 2023. (See Ex. A, Proof of Service of Summons.) The
25   thirtieth day after service of the Complaint is March 3, 2023. Therefore, this Notice of Removal is
26   timely. 28 U.S.C. § 1446(b).
27            3.    The Complaint also names as defendants “DOES 1 through 20.” Defendant is
28   informed and believes and on that basis alleges that none of the fictitiously-named defendants have
                                                 1                            Case No.
          DEFENDANT AMERICOLD LOGISTICS, LLC’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED
                     STATES DISTRICT COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446
            Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 3 of 36


 1   been served with a copy of the Summons and Complaint. Therefore, the fictitiously-named
 2   defendants are not parties to the above-captioned action and need not consent to removal. See 28
 3   U.S.C. § 1441(b)(1); Fristoe v. Reynolds Metals Co., 615 F. 2d 1209, 1214 (9th Cir. 1980) (“Doe”
 4   defendants need not be joined in a removal petition).
 5   III.      VENUE
 6             4.   The Superior Court of California, County of Stanislaus, is located within the
 7   territory of the Eastern District of California. Therefore, venue for the purposes of removal is
 8   proper pursuant to 28 U.S.C. § 84(d) because it is the “district and division embracing the place
 9   where such action is pending.” 28 U.S.C. § 1441(a).
10   IV.       BASIS FOR REMOVAL
11             5.   The Court has original jurisdiction over this action pursuant to 28 U.S.C. §
12   1332(a)(1). Defendant may remove it to this Court pursuant to 28 U.S.C. § 1441. This case is
13   between citizens of different states, and the amount in controversy exceeds $75,000.
14             A.   Complete Diversity Exists Between Plaintiff and Defendant
15                  (a)     Plaintiff is a Citizen of California
16             6.   For purposes of diversity, the citizenship of a natural person is determined by
17   his/her state of domicile. Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001).
18   Plaintiff alleges in her complaint that she “was at all relevant times herein a resident of Stanislaus,
19   County,” California. (Ex. A, Plaintiff’s Complaint at ¶ 1; see also (Declaration of Melanie Spry
20   (“Spry Decl.”) ¶ 6.) Accordingly, Plaintiff is, and at the time she filed this action, was domiciled in
21   the State of California.
22                  (b)     Defendant is Not a Citizen of California
23             7.   A limited liability company is deemed a citizen of any State of which its
24   owners/members are citizens. Johnson v. Columbia Properties Anchorage, LP, 437 F.3d 894, 899
25   (9th Cir. 2006) (applying the standard used in other circuits and treating LLCs like partnerships).
26   Moreover, a “principle place of business” refers to “the place where a corporation’s officers direct,
27   control, and coordinate the corporation’s activities.” Hertz Corp. v. Friend, 559 U.S. 77, 92-93
28   (2010).
                                              2                            Case No.
       DEFENDANT AMERICOLD LOGISTICS, LLC’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED
                  STATES DISTRICT COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446
         Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 4 of 36


 1           8.      At the time that Plaintiff filed the Complaint, Defendant was – and still is – a
 2   limited liability company organized under the laws of the State of Delaware, with no
 3   owners/members who are citizens of the State of California. (Spry Decl., ¶¶ 3 - 4.) Its principal
 4   place of business at the time of the filing of the Complaint was – and still is – located at its
 5   headquarters in Atlanta, Georgia. (Spry Decl., ¶ 5.) Thus, for the purposes of federal diversity
 6   jurisdiction, Defendant is not a citizen of the State of California.
 7                   (c)    Does’ Citizenship Should be Disregarded
 8           9.      Pursuant to 28 U.S.C. section 1441(b)(1), the citizenship of defendant sued under
 9   fictitious names shall be disregarded for purposes of establishing removal jurisdiction under 28
10   U.S.C. 1332. Thus, the existence of Doe Defendants 1-20 does not deprive this Court of
11   jurisdiction.
12           10.     Accordingly, complete diversity of citizenship exists between Plaintiff and
13   Defendant.
14           A.      The Alleged Amount in Controversy Exceeds $75,000
15           11.     While Defendant denies any liability as to Plaintiff’s claims, the amount in
16   controversy in this action exceeds the sum of $75,000. Plaintiff alleges, inter alia, that during her
17   employment Defendant retaliated against her based on complaints of harassment, insubordination
18   and discrimination that she allegedly made, that Defendant discriminated against her based on her
19   sex, age, national origin and perceived sexual orientation, and that Defendant wrongfully
20   terminated her employment. (See Ex. A, Plaintiff’s Complaint, generally.) For these claims,
21   Plaintiff asserts that she has suffered economic damages “not less than $150,000.” (Id., Prayer for
22   Relief ¶ 1.)
23           12.     Normally, the amount in controversy burden is “determined from the face of the
24   pleadings.” Pachinger v. MGM Grand Hotel-Las Vegas, Inc., 802 F.2d 362, 364 (9th Cir. 1986).
25   “The sum claimed by the plaintiff controls if the claim is apparently made in good faith.” St. Paul
26   Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 288 (1938). Here, based on Plaintiff’s
27   allegations, her recoverable damages at least amount to $150,000.
28           13.     Plaintiff additionally seeks attorneys’ fees. (See Ex. A, Plaintiff’s Complaint at ¶¶
                                              3                            Case No.
       DEFENDANT AMERICOLD LOGISTICS, LLC’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED
                  STATES DISTRICT COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446
           Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 5 of 36


 1   27, 38, Prayer for Relief, ¶ 5.) Although Defendant denies any liability to Plaintiff for attorneys’
 2   fees, claims for attorneys’ fees are properly considered in calculating the amount in controversy for
 3   purposes of removal on grounds of diversity jurisdiction. Galt G/S/ v. JSS Scandinavia, 142 F.3d
 4   1150, 1156 (9th Cir. 1998) (claims for statutory attorneys’ fees to be included in amount in
 5   controversy); Brady v. Mercedes-Benz USA, Inc., 243 F.Supp.2d 1004, 1010-11 (N.D. Cal. 2002)
 6   (attorneys’ fees included in determining jurisdictional amount).
 7            14.   Plaintiff claims she is entitled to punitive damages (See Ex. A, Complaint, Prayer
 8   for Relief, ¶ 3.) Although Defendant denies any liability to Plaintiff for punitive damages, these
 9   damages are included when calculating the amount in controversy. See Guglielmino v. McKee
10   Foods Corp., 506 F.3d 696, 700 (9th Cir. 2007) (the “amount-in-controversy requirement excludes
11   only ‘interests and costs.”). An examination of jury awards shows that punitive damages alone in
12   similar discrimination cases often exceed the $75,000 amount in controversy requirement. See
13   Carter v. CB Richard Ellis, 2001 WL 34109371 (Orange County Superior Court, Oct. 7, 2001)
14   ($600,000 award of punitive damages in case involving claims of age and gender discrimination);
15   see also Colucci v. T-Mobile USA, Inc., 48 Cal. App. 5th 442, 459 (2020) (awarding $1,530,063 in
16   punitive damages in a workplace retaliation case).
17            15.   Based upon the foregoing, the amount in controversy in this action exceeds the
18   jurisdictional minimum of $75,000.
19            16.   For these reasons, this Court has original jurisdiction over this action pursuant to 28
20   U.S.C. sections 1332 and 1441 on the basis of diversity jurisdiction.
21   V.       ALL PROCEDURAL REQUIREMENTS HAVE BEEN MET
22            17.   In compliance with 28 U.S.C. section 1446(a), true and correct copies of all process,
23   pleadings, and orders served in this action, including the Summons, Complaint, and Answer are
24   attached hereto as Exhibits A and B.
25            18.   Defendant is filing this Notice of Removal within thirty (30) days after Plaintiff
26   served Defendant with a copy of the Complaint, pursuant to 28 U.S.C. § 1446(b)(1).
27            19.   Defendant is serving a copy of this Notice of Removal on all adverse parties and a
28   notice will be filed with the clerk of Superior Court of California for the County of Stanislaus
                                                 4                            Case No.
          DEFENDANT AMERICOLD LOGISTICS, LLC’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED
                     STATES DISTRICT COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446
         Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 6 of 36


 1   pursuant to 28 U.S.C. § 1446(d).
 2           WHEREFORE, Defendant respectfully requests that the State Action be removed from the
 3   state court in which Plaintiff filed the action to the United States District Court, in and for the
 4   Eastern District of California, and further requests that this Honorable Court issue all necessary
 5   orders and process and grant such other and further relief as in law and justice that Defendant may
 6   be entitled to receive.
 7

 8

 9   DATED: March 3, 2023                               OGLETREE, DEAKINS, NASH, SMOAK &
                                                        STEWART, P.C.
10

11

12                                                      By: /s/ Ryan C. Finn
                                                            DANIELLE OCHS
13                                                          RYAN C. FINN
                                                            Attorneys for Defendant
14                                                          AMERICOLD LOGISTICS LLC
15

16                                                                                          55104991.v2-Ogletree

17

18

19

20

21

22

23

24

25

26

27

28
                                              5                            Case No.
       DEFENDANT AMERICOLD LOGISTICS, LLC’S NOTICE OF REMOVAL OF CIVIL ACTION TO UNITED
                  STATES DISTRICT COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, 1446
Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 7 of 36




                    EXHIBIT A
                                                            Electronically Filed
                                                            1/27/2023 11:28 AM
              Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23  PageCourt
                                                            Superior    8 of 36
                                                                             of California
                                                            County of Stanislaus
                                                            Clerk of the Court
 1   Mike Chappars SBN# 290137                              By: Emily Prom, Deputy
     LAW OFFICE OF MIKE CHAPPARS                             $435.00 FEE WAIVED
 2   101 Church Street, Suite 30
     Los Gatos, CA 95030
 3   Phone: (408)508-3447
     Fax: (408)213-5866
 4   Email: mike@345law.com                                  Speiller, Stacy
 5                                                                   Dept. 22
     Attorney for Plaintiff,
 6   SABRINA NISHA

 7

 8
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                    FOR THE COUNTY OF STANISLAUS
10

11     SABRINA NISHA, an individual                        CASE NO: CV-23-000483

12              Plaintiff,
                                                           COMPLAINT FOR DAMAGES
13      vs.
                                                           1)   WRONGFUL TERMINATION IN
14     AMERICOLD LOGISTICS LLC, a                          VIOLATION OF PUBLIC POLICY;
       Deleware Limited Liability Company; and             2)   DISCRIMINATION
15     DOES 1 through 20, inclusive,
                                                           3)   RETALIATION;
16              Defendants.                                4)   UNFAIR BUSINESS PRACTICES

17

18
                                                           DEMAND FOR JURY TRIAL
19

20

21

22
     COMES NOW Plaintiff SABRINA NISHA, an individual, who hereby requests a jury trial on all
23

24
     causes of action stated herein, and hereby alleges as his Complaint against all Defendants as

25   follows:
26                                    PARTIES AND JURISDICTION
27
                      1.       Plaintiff, SABRINA NISHA (hereafter referred to as “PLAINTIFF”), was
28
     at all relevant times herein a resident of Stanislaus County.


                                                     -1-
                                                                                COMPLAINT FOR DAMAGES
              Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 9 of 36


 1                  2.      Defendant AMERICOLD LOGISTICS LLC (hereafter referred to as
 2
     “DEFENDANT”) is a Delaware Limited Liability Company doing business in the State of
 3
     California and the County of Stanislaus.
 4
                    3.      Defendant DOES name as 1 through 20, are unknown, but are individuals
 5

 6   and or entities believed to be operating on behalf of or with the authority of the named

 7   Defendants.
 8
                    4.      Plaintiff is ignorant of the true names and capacities of defendants sued
 9
     herein as DOES 1 through 20, inclusive, and therefore sue these defendants by such fictitious
10
     names and capacities. Plaintiff will seek leave to amend this complaint to when their names and
11

12   participation in the acts alleged herein have been ascertained. DOES 1 through 20 and

13   DEFENDANT shall be referred to, both individually and collectively, as DEFENDANT.
14
                    5.      This Court has jurisdiction over this matter since the events giving rise to
15
     the causes of action in this Complaint occurred in the County of Stanislaus, State of California
16
     within this judicial district, DEFENDANT does business in the County of Stanislaus, State of
17

18   California, and DEFENDANTS committed the acts detailed below in the County of Stanislaus,

19   State of California.
20
                    6.      Plaintiff does not know the true names capacities, or basis for liability of
21
     Defendants sued herein as Does 1 through 20, inclusive, as each fictitiously named Defendant is
22
     in some manner liable to Plaintiff’s claims. Plaintiff will amend this Complaint to allege their
23

24   true names and capacities when ascertained.     Plaintiff is informed and believes, and therefore

25   alleges, that all relevant times mentioned in this Complaint, each of the fictitiously named
26
     Defendants are responsible in some manner for the injuries and damages to Plaintiff so alleged
27

28




                                                     -2-
                                                                             COMPLAINT FOR DAMAGES
              Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 10 of 36


 1   and that such injuries and damages were proximately caused by such Defendants, and each of
 2
     them.
 3

 4
                          FACTS COMMON TO ALL CAUSES OF ACTION
 5

 6                  7.     PLAINTIFF was hired to work as an employee for DEFENDANT on or

 7   around in or around May 17, 2015, where, at the time of her termination, she was paid $64,000
 8
     per annum.
 9
                    8.     PLAINTIFF was a good employee and competent in her job performance.
10
                    9.     And all relevant times, DEFENDANTS employed more than five people
11

12   in Stanislaus County in the State of California

13                  10.    At all relevant times, each Defendant was acting as the agent employee of
14
     every other Defendant within the course and scope of such agency an employment and the
15
     knowledge consent permission authorization of each other in Defendant.
16
                    11.    PLAINTIFF worked as a Warehouse Supervisor. PLAINITFF is a
17

18   woman, over the age of 40, who is of Fijian descent.

19                  12.    PLAINTIFF is informed and believes that a number of her coworkers
20
     perceived PLAINTIFF as lesbian.
21
                    13.    During the course of her employment, Ms. PLAINTIFF brought multiple
22
     protected complaints to DEFENDANT regarding sexual harassment she experienced in the
23

24   workplace, regarding insubordination from a number of employees, regarding harassment she

25   suffered, and regarding discrimination related to job opportunities.
26

27

28




                                                       -3-
                                                                            COMPLAINT FOR DAMAGES
               Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 11 of 36


 1                    14.   DEFENDANTS were primarily motivated by PLAINTIFF’s protected
 2
     activities and protected characteristics when they denied her a promotion and other job
 3
     opportunities.
 4
                      15.   DEFENDANTS were primarily motivated by PLAINTIFF’s protected
 5

 6   activities and protected characteristics when they failed to protect PLAINTIFF from harassment,

 7   insubordination, rumor mongering, and other hostile treatment.
 8
                      16.   DEFENDANTS were primarily motivated by PLAINTIFF’s protected
 9
     activities and protected characteristics when they subjected her to unwarranted investigation.
10
                      17.   DEFENDANT failed to take action after PLAINTIFF’s complaints.
11

12   DEFENDANT then terminated PLAINTIFF’s employment on or around April 1, 2022.

13                    18.   PLAINTIFF alleges that DEFENDANT terminated PLAINTIFF’s
14
     employment because of her protected characteristics or because of her protected activities.
15
                      19.   PLAINTIFF attempted to meet and confer with DEFENDANTS to discuss
16
     her claims over a years long period, but DEFENDANT never made any response to
17

18   PLAINTIFF’s demands.

19                    20.   On or around October 18, 2022, PLAINTIFF obtained a right to sue letter
20
     from the Department of Fair Employment and Housing. A true and correct copy of the right to
21
     sue letter is attached to this complaint as Exhibit A.
22

23
                             FIRST CAUSE OF ACATION
24              (WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY)
                                Against All DEFENDANTS
25

26
                      21.    Plaintiff incorporates all previous paragraphs as though fully set forth
27
     herein.
28




                                                      -4-
                                                                             COMPLAINT FOR DAMAGES
                Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 12 of 36


 1                  22.     PLAINTIFF was in an employee/employer relationship with
 2
     DEFENDANTS starting in or around May 17, 2015.
 3
                    23.     PLAINTIFF suffered poor treatment through her employment because of
 4
     her protected characteristics. PLAINTIFF is a woman, of Fijian descent, who is perceived by
 5

 6   DEFENDANTS as lesbian.

 7                  24.     PLAINTIFF engaged in protected activities when she complained about
 8
     the discrimination, insubordination, and retaliation she suffered.
 9
                    25.     DEFENDANT terminated PLAINTIFF’s employment on or around April
10
     1, 2022.
11

12                  26.     DEFENDANT was substantially motivated to terminate PLAINTIFF’s

13   employment because of her protected characteristics and her protected activities.
14
                    27.     The above-said acts of DEFENDANT constituted a wrongful termination
15
     of PLAINTIFF's employment in violation of public policy. As a direct and proximate result of
16
     DEFENDANT’s conduct, PLAINTIFF has been damaged, and continues to suffer damages in
17

18   that PLAINTIFF has lost and will continue to lose income. PLAINTIFF has also found it

19   necessary to retain the services of attorneys to pursue this action and the claims asserted herein
20
     and has incurred, and will continue to incur, certain legal fees, costs and expenses thereby.
21

22                                   SECOND CAUSE OF ACTION
                                            (RETALIATION)
23
                                        Against All DEFENDANTS
24

25                  28.     Plaintiff incorporates all previous paragraphs as though fully set forth
26
     herein.
27

28




                                                     -5-
                                                                             COMPLAINT FOR DAMAGES
                Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 13 of 36


 1                    29.    PLAINTIFF was in an employee/employer relationship with
 2
     DEFENDANTS starting in or around May 17, 2015.
 3
                      30.    PLAINTIFF suffered poor treatment through her employment because of
 4
     her protected characteristics. PLAINTIFF is a woman, over the age of 40, of Fijian descent, who
 5

 6   is perceived by DEFENDANTS as lesbian.

 7                    31.    PLAINTIFF engaged in protected activities when she complained about
 8
     the discrimination, insubordination, and retaliation she suffered.
 9
                      32.    DEFENDANTS were primarily motivated by PLAINTIFF’s protected
10
     activities and protected characteristics when they denied her a promotion and other job
11

12   opportunities.

13                    33.    DEFENDANTS were primarily motivated by PLAINTIFF’s protected
14
     activities and protected characteristics when they failed to protect PLAINTIFF from harassment,
15
     insubordination, rumor mongering, and other hostile treatment.
16
                      34.    DEFENDANTS were primarily motivated by PLAINTIFF’s protected
17

18   activities and protected characteristics when they subjected her to unwarranted investigation.

19                    35.    DEFENDANT terminated PLAINTIFF’s employment on or around April
20
     1, 2022.
21
                      36.    DEFENDANT subjected PLAINTIFF to an adverse employment action
22
     because she engaged in a protected activity.
23

24                    37.    DEFENDANTS explicitly terminated PLAINTIFF’s employment on or

25   around April 1, 2022.
26
                      38.    The above-said acts of DEFENDANT constitute retaliation. As a direct
27
     and proximate result of DEFENDANT’s conduct, PLAINTIFF has been damaged, and continues
28




                                                     -6-
                                                                           COMPLAINT FOR DAMAGES
                Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 14 of 36


 1   to suffer damages in that PLAINTIFF has lost and will continue to lose income. PLAINTIFF
 2
     has also found it necessary to retain the services of attorneys to pursue this action and the claims
 3
     asserted herein and has incurred, and will continue to incur, certain legal fees, costs and expenses
 4
     thereby.
 5

 6                                    THIRD CAUSE OF ACTION
                                    UNFAIR BUSINESS PRACTICES
 7                                     Against All DEFENDANTS
 8

 9                   39.     Plaintiff incorporates all previous paragraphs as though fully set forth

10   herein.
11
                     40.    DEFENDANTS illegally subjected PLAINTIFF to retaliation based upon
12
     her protected characteristics and protected activities.
13
                     41.    DEFENDANT wrongful termination of PLAINTIFF’s employment was
14

15   primarily motivated by her protected characteristics and her protected activities.

16                   42.    DEFENDANTS’ described actions constitute unlawful, unfair or
17
     fraudulent business act or practice.
18
                                                   PRAYER FOR RELIEF
19
     WHEREFORE, PLAINTIFF prays for judgment against the DEFENDANTS, and each of them,
20

21   as follows:

22              1.   For economic damages, including front and back pay, losses incurred in seeking
23
                substitute employment and loss of earnings, deferred compensation and other
24
                employment benefits in an amount believed to be not less than $150,000;
25
                2.   For general damages for losses;
26

27              3.   For exemplary and punitive damages in an amount to be determined at trial;

28




                                                       -7-
                                                                             COMPLAINT FOR DAMAGES
             Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 15 of 36


 1           4.    For prejudgment interest pursuant to Civil Code §§ 3287, 3288, or any other
 2
             applicable statute, at the legal rate;
 3
             5.    For reasonable attorney’s fees pursuant to Government Code § 12965(b).
 4
             6.    For cost of suit incurred herein; and
 5

 6           7.    For such other and further relief as the Court may deem just and proper.

 7

 8
     Dated: January 27, 2023
 9                                                    _____________________
                                                      Mike Chappars
10
                                                      Attorney for Plaintiff SABRINA NISHA
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                       -8-
                                                                           COMPLAINT FOR DAMAGES
     Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 16 of 36


 1

 2

 3

 4

 5
                               EXHIBIT A
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 17 of 36
             S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                       KEVIN KISH, DIRECTOR
             Civil Rights Department
             2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
             800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
             www.dfeh.ca.gov | contact.center@dfeh.ca.gov




October 18, 2022


Mike Chappars
101 Church Street, Suite 30
Los Gatoss, CA 95030

RE:    Notice to Complainant’s Attorney
       CRD Matter Number: 202210-18604119
       Right to Sue: Nisha / Americold Logistics

Dear Mike Chappars:

Attached is a copy of your complaint of discrimination filed with the Civil Rights
Department (CRD) pursuant to the California Fair Employment and Housing Act,
Government Code section 12900 et seq. Also attached is a copy of your Notice of Case
Closure and Right to Sue.

Pursuant to Government Code section 12962, CRD will not serve these
documents on the employer. You must serve the complaint separately, to all named
respondents. Please refer to the attached Notice of Case Closure and Right to Sue for
information regarding filing a private lawsuit in the State of California. A courtesy "Notice
of Filing of Discrimination Complaint" is attached for your convenience.

Be advised that the CRD does not review or edit the complaint form to ensure that it
meets procedural or statutory requirements.

Sincerely,

Civil Rights Department




                                                                                                  CRD - ENF 80 RS (Revised 10/22)
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 18 of 36
             S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                       KEVIN KISH, DIRECTOR
             Civil Rights Department
             2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
             800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
             www.dfeh.ca.gov | contact.center@dfeh.ca.gov




October 18, 2022

RE:    Notice of Filing of Discrimination Complaint
       CRD Matter Number: 202210-18604119
       Right to Sue: Nisha / Americold Logistics

To All Respondent(s):

Enclosed is a copy of a complaint of discrimination that has been filed with the Civil
Rights Department (CRD)) in accordance with Government Code section 12960. This
constitutes service of the complaint pursuant to Government Code section 12962. The
complainant has requested an authorization to file a lawsuit. A copy of the Notice of
Case Closure and Right to Sue is enclosed for your records.

This matter may qualify for CRD’s Small Employer Family Leave Mediation Pilot
Program. Under this program, established under Government Code section
12945.21, a small employer with 5 -19 employees, charged with violation of the
California Family Rights Act, Government Code section 12945.2, has the right to
participate in CRD’s free mediation program. Under this program both the
employee requesting an immediate right to sue and the employer charged with
the violation may request that all parties participate in CRD’s free mediation
program. The employee is required to contact the Department’s Dispute
Resolution Division prior to filing a civil action and must also indicate whether
they are requesting mediation. The employee is prohibited from filing a civil
action unless the Department does not initiate mediation within the time period
specified in section 12945.21, subdivision (b) (4), or until the mediation is
complete or is unsuccessful. The employee’s statute of limitations to file a civil
action, including for all related claims not arising under section 12945.2, is tolled
from the date the employee contacts the Department regarding the intent to
pursue legal action until the mediation is complete or is unsuccessful. You may
contact CRD’s Small Employer Family Leave Mediation Pilot Program by
emailing DRDOnlinerequests@dfeh.ca.gov and include the CRD matter number
indicated on the Right to Sue notice.


Please refer to the attached complaint for a list of all respondent(s) and their contact
information.

No response to CRD is requested or required.

Sincerely,


                                                                                                  CRD - ENF 80 RS (Revised 10/22)
       Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 19 of 36
          S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                    KEVIN KISH, DIRECTOR
          Civil Rights Department
          2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
          800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
          www.dfeh.ca.gov | contact.center@dfeh.ca.gov




Civil Rights Department




                                                                                               CRD - ENF 80 RS (Revised 10/22)
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 20 of 36
           S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                     KEVIN KISH, DIRECTOR
           Civil Rights Department
           2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
           800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
           www.dfeh.ca.gov | contact.center@dfeh.ca.gov




October 18, 2022

Sabrina Nisha
,

RE:    Notice of Case Closure and Right to Sue
       CRD Matter Number: 202210-18604119
       Right to Sue: Nisha / Americold Logistics

Dear Sabrina Nisha:

This letter informs you that the above-referenced complaint filed with the Civil Rights
Department (CRD) has been closed effective October 18, 2022 because an immediate
Right to Sue notice was requested.

This letter is also your Right to Sue notice. According to Government Code section
12965, subdivision (b), a civil action may be brought under the provisions of the Fair
Employment and Housing Act against the person, employer, labor organization or
employment agency named in the above-referenced complaint. The civil action must be
filed within one year from the date of this letter.

This matter may qualify for CRD’s Small Employer Family Leave Mediation Pilot
Program. Under this program, established under Government Code section
12945.21, a small employer with 5 -19 employees, charged with violation of the
California Family Rights Act, Government Code section 12945.2, has the right to
participate in CRD’s free mediation program. Under this program both the
employee requesting an immediate right to sue and the employer charged with
the violation may request that all parties participate in CRD’s free mediation
program. The employee is required to contact the Department’s Dispute
Resolution Division prior to filing a civil action and must also indicate whether
they are requesting mediation. The employee is prohibited from filing a civil
action unless the Department does not initiate mediation within the time period
specified in section 12945.21, subdivision (b) (4), or until the mediation is
complete or is unsuccessful. The employee’s statute of limitations to file a civil
action, including for all related claims not arising under section 12945.2, is tolled
from the date the employee contacts the Department regarding the intent to
pursue legal action until the mediation is complete or is unsuccessful. Contact
CRD’s Small Employer Family Leave Mediation Pilot Program by emailing
DRDOnlinerequests@dfeh.ca.gov and include the CRD matter number indicated
on the Right to Sue notice.



                                                                                                CRD - ENF 80 RS (Revised 10/22)
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 21 of 36
             S T A T E O F C A L I F O R N I A | Business, Consumer Services and Housing Agency                    GAVIN NEWSOM, GOVERNOR

                                                                                                                       KEVIN KISH, DIRECTOR
             Civil Rights Department
             2218 Kausen Drive, Suite 100 | Elk Grove | CA | 95758
             800-884-1684 (voice) | 800-700-2320 (TTY) | California’s Relay Service at 711
             www.dfeh.ca.gov | contact.center@dfeh.ca.gov




To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
CRD Notice of Case Closure or within 300 days of the alleged discriminatory act,
whichever is earlier.

Sincerely,


Civil Rights Department




                                                                                                  CRD - ENF 80 RS (Revised 10/22)
              Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 22 of 36


 1                       COMPLAINT OF EMPLOYMENT DISCRIMINATION
                             BEFORE THE STATE OF CALIFORNIA
 2                                       Civil Rights Department
                      Under the California Fair Employment and Housing Act
 3
                                   (Gov. Code, § 12900 et seq.)
 4
     In the Matter of the Complaint of
 5    Sabrina Nisha                                                      CRD No. 202210-18604119

 6                                   Complainant,
     vs.
 7
      Americold Logistics
 8
      One Concourse Parkway, Suite 450
 9    Atlanta, GA 30328

10                                   Respondents

11
12
     1. Respondent Americold Logistics is an employer subject to suit under the California Fair
13   Employment and Housing Act (FEHA) (Gov. Code, § 12900 et seq.).

14
15   2. Complainant Sabrina Nisha, resides in the City of , State of .

16
   3. Complainant alleges that on or about March 28, 2022, respondent took the
17 following adverse actions:
18 Complainant was harassed because of complainant's race, sex/gender, sexual
     harassment- hostile environment.
19
     Complainant was discriminated against because of complainant's race, sex/gender,
20
     sexual harassment- hostile environment and as a result of the discrimination was
21   terminated.

22 Complainant experienced retaliation because complainant reported or resisted any form
     of discrimination or harassment and as a result was terminated.
23
24 Additional Complaint Details: Plaintiff was subjected to racial and sexual harassment.
     She was terminated when she complained.
25
26                                                  -1-
                                    Complaint – CRD No. 202210-18604119
27
     Date Filed: October 18, 2022
28
                                                                             CRD-ENF 80 RS (Revised 10/22)
              Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 23 of 36


 1 VERIFICATION
 2 I, Mike Chappars, am the Attorney in the above-entitled complaint. I have read the
   foregoing complaint and know the contents thereof. The matters alleged are based
 3
   on information and belief, which I believe to be true.
 4
   On October 18, 2022, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.
 6                                                                             Campbell, CA
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26                                                  -2-
                                    Complaint – CRD No. 202210-18604119
27
     Date Filed: October 18, 2022
28
                                                                          CRD-ENF 80 RS (Revised 10/22)
                          Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 24 of 36                                                            SUM-100
                                             SUMMONS                                                                (
                                                                                                                        FOR COURT USE ONLY
                                                                                                                     SOLO PARA USO DE LA CORTE)
                                     (CITACION JUDICIAL)
NOTICE TO DEFENDANT:                                                                                      Electronically Filed
(AVISO AL DEMANDADO):                                                                                     1/27/2023 11:28 AM
                                                                                                          Superior Court of California
 AMERICOLD LOGISTICS LLC,a Deleware Limited Liability                                                     County of Stanislaus
 Company; and DOES 1 through 20, inclusive                                                                Clerk of the Court
YOU ARE BEING SUED BY PLAINTIFF:                                                                          By: Emily Prom, Deputy
(LO ESTA DEMANDANDO EL DEMANDANTE):
  SABRINA NISHA,an individual

  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center(www.courfinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.govisellhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 lAVISOI Lo han demandado. Si no responde dentro de 30 dies, la code puede decidir en su contra sin escuchar su version. Lea la informacien a
 continuaci6n.
     Tiene 30 DIAS DE CALENDA RIO despues de que le entreguen esta cited& y papeles legates pare presenter una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefenica no to protegen. Su respuesta por escrito tiene que ester
  en formato legal correct° Si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
 Puede encontrar estos formularios de la corte y mesinformed& en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de!eyes de su condado o en la code que le quede mas cerca. Si no puede pager la cuota de presentecion, pida al secretario de la code
  qua le db un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso porincumplimiento y la code le
 padre guitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos legates. Es recomendable que!lame a un abogado inmediatamente. Si no conoce a un abogado, puede Hamar a un servicio de
  remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos pare obtenerseMcios legates gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
 (Www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (Arww.sucorte.ca.gov) o poniendose en contacto con la code o el
 colegio de abogadoslocales. AVISO:Por by, la corte tiene derecho a redamarlas cuotas y los costos exentos por imponer un gravamen sabre
 cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitrate en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la code puede desechar el caso.
 The name and address of the court is:                                                                    CASE NUMBER:
(El nombre y direcci6n de la code es): Stanislaus Superior Court                                                           V-23-000483
                                                                                                         (AlOmero del Casok;


 800 11th Street
 Modesto, CA 95354
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
  El nombre. la direccion v el numero de telefono del aboaado del demandante. o del demandante aue no tiene boaado. es):
 i
 Law Office of Mike Chappars, 101 Church Street, Suite 30,Los Gatos,                                       95030

 DATE: 1/27/2023 11:28 AM                                             Clerk, by                                                                          uty
(Fecha)                                                               (Secretario)                                                                  (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons(form POS-01                                             Unity tarum
(Para prueba de entrega de esta citation use el fon-nulario Proof of Service of Summons,(POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                  1.         -
                                             I 1
                                          as an individual defendant.
                                  2.      as the person sued under the fictitious name of (specify):


                                        a I= on behalf of(specify):

                                             under:        CCP 416.10 (corporation)                                CCP 416.60(minor)
                                                      I—I CCP 416.20 (defunct corporation)                         CCP 416.70(conservatee)
                                                      1•-1 CCP 416.40 (association or partnership)         r---1   CCP 416.90 (authorized person)
                                                    ED other (specify):
                                        4.         by personal delivery on (date):
                                                                                                                                                        Paoe 1 of 1
  Form Adopted for Mandatory Use                                       SUMMONS                                                 Code of Civil Procedure §§ 412.20,465
    Judicial Council of California                                                                                                               www.couninfo.ca.gov
   SUM-100 !Rev. July 1,20091
                                                                                                                                                     CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and address):
                Case
Mike Chappars(SBN        1:23-cv-00327-BAM
                     #290137)                   Document 1 Filed 03/03/23 Page 25 of 36                            FOR COURT USE ONLY

101 Church Street, Suite 30, Los Gatos, CA 95030
                                                                       Electronically Filed
        TELEPHONE NO.: (408)508-3447   FAX NO.(Optfona0: (408)213-5866 1/27/2023 11:28 AM
       E-MAIL ADDRESS: mike@345Iaw.com                                 Superior Court of California
  ATTORNEY FOR (Name): SABRINA NISHA                                   County of Stanislaus
SUPERIOR COURT OF CAUFORNIA,COUNTY OF STANISLAUS                       Clerk of the Court
 STREET ADDRESS: 800 11th Street                                       By: Emily Prom, Deputy
 MAILING ADDRESS:
CITY AND ZIP CODE: Modesto, CA 95354
      BRANCH NAME: Stanislaus County Superior Court Main Courthouse

CASE NAME:
 NISHA v. AMERICOLD LOGISTICS LLC
                                                                                   CASE NUMBER:
       CIVIL CASE COVER SHEET                 Complex Case Designation
  x     Unlimited        Limited                  Counter               Joinder              CV-23-000483
       (Amount           (Amount
                                          Filed with first appearance by defendant juDGE:
        demanded         demanded is
                                             (Cal. Rules of Court, rule 3.402)      DEPT.:
        exceeds $25,000) $25,000 or less)
                           Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
    Auto Tort                                      Contract                                    Provisionally Complex Civil Litigation
   -
   I 1 A• uto (22)                                11 B• reach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400-3.403)
           Uninsured motorist(46)                 ni Rule 3.740 collections(09)                I—I Antitrust/Trade regulation (03)
    Other PI/PD/WD (Personal Injury/Property      -
                                                  I 1 O• ther collections(09)                  I—I Construction defect(10)
    Damage/Wrongful Death) Tort                                                                       Mass tort(40)
                                                  ni Insurance coverage (18)
   F-1 Asbestos(04)                               F-1 Other contract(37)                       r 1    Securities litigation (28)
   F-1 Product liability (24)                                                                         Environmental/Toxic tort (30)
                                                   Real Property
   F-1 M• edical malpractice (45)                 ri E• minent domain/Inverse                  F-7 Insurance coverage claims arising from the
   -
   1 -1 Other PI/PD/WD (23)                              condemnation (14)                            above listed provisionally complex case
                                                                                                      types(41)
     Non-PI/PM/13(Other) Tort                     -
                                                  1 1 Wrongful eviction (33)                    Enforcement of Judgment
   r7 Business tort/unfair business practice (07) -
                                                  1 1 Other real property (26)                        Enforcement of judgment(20)
   El Civil rights(08)                             Unlawful Detainer
                                                                                                Miscellaneous Civil Complaint
   -
   1 1 Defamation (13)                            r  i Commercial(31)
                                                                                                      RICO (27)
   1---1 Fraud (16)                               ni Residential (32)
                                                                                                     Other complaint (not specified above)(42)
          Intellectual property (19)              -
                                                  1 -1 D• rugs(38)
                                                                                                Miscellaneous Civil Petition
   -I 7 Professional negligence (25)               Judicial Review
                                                  ni A• sset forfeiture (05)                   -
                                                                                               I 1 Partnership and corporate governance (21)
   E 1    O • ther non-PUPD/VVD  tort (35)
                                                                                               F-1 Other petition (not specified above)(43)
    Employment                                    ni P• etition re: arbitration award (11)
   r-i Wrongful termination (36)                         V• Vrit of mandate (02)
   F-1 Other employment(15)                       1---1 O• ther judicial review (39)
2. This case ni is           E-1 is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management
   a. LJ Large number of separately represented parties           d.       r--1
                                                                             Large number of witnesses
   b. I—I Extensive motion practice raising difficult or novel e.            Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c.                                                                       court
          J Substantial amount of documentary evidence
                                                                  f. fl Substantial postjudgment judicial supervision
3. Remedies sought(check all that apply): a. -  I 1 monetary b.          nonmonetary; declaratory or injunctive relief c.           punitive
4. Number of causes of action (specify): 4
5. This case ni is                  r-i
                                   is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
Date: 1/27/2023
Mike Chappars
                             (TYPE OR PRINT NAME)                                            (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                      NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                     Page 1 of 2
Form Adopted for Mandatory Use                                                                          Cal Rules of Court, rules 2.30, 3.220,3.400-3.403, 3.740;
  Judicial Council of California                           CIVIL CASE COVER SHEET                              Cal. Standards of Judicial Administration, std. 3.10
CM-010 fRey.September 1,20211                                                                                                                  www.courts.ca.gov
                       Case 1:23-cv-00327-BAM
                                   INSTRUCTIONS ON HOW        Document
                                                                TO COMPLETE        1 Filed     03/03/23
                                                                                          THE COVER  SHEET  Page 26 of 36                     CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item I are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1)tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                       CASE TYPES AND EXAMPLES
  Auto Tort                                      Contract                                             Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property              Breach of Contract/Warranty (06)                 Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                             Antitrust/Trade Regulation (03)
        Uninsured Motorist (46)(if the                        Contract(not unlawful detainer                Construction Defect(10)
        case involves an uninsured                                 or  wrong
                                                                       wrongful   eviction)                 Claims Involving Mass Tort(40)
        motorist claim subject to                        ContractNVarranty Breach—Seller                    Securities Litigation (28)
         arbitration, check this item                         Plaintiff(not fraud or negligence)            Environmental/Toxic Tort(30)
        instead of Auto)                                 Negligent    Breach   o f Contrad t/               Insurance Coverage Claims
  Other PI/PD/WD (Personal Injury/                            Warranty                                           (arising from provisionally complex
  Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                        case type listed above)(41)
  Tort                                               Collections   (e.g.,  money   owed,  open        Enforcement of Judgment
      Asbestos(04)                                       book accounts)(09)                              Enforcement of Judgment(20)
          Asbestos Property Damage                       Collection Case—Seller Plaintiff                    Abstract of Judgment(Out of
          Asbestos Personal Injury/                      Other   Promissory     Note/Collections                   County)
               Wrongful Death                                 Case                                       Confession of Judgment(non-
      Product Liability (not asbestos or             Insurance Coverage (not provisionally                    domestic relations)
          toxic/environmental)(24)                       complex)(18)                                    Sister State Judgment
      Medical Malpractice (45)                           Auto Subrogation                                Administrative Agency Award
           Medical Malpractice—                          Other Coverage                                      (not unpaid taxes)
                Physicians & Surgeons                Other  Conrat   ct(  37)                             Petition/Certification of Entry of
      Other Professional Health Care                     Contractual Fraud                                    Judgment on Unpaid Taxes
              Malpractice                                Other C Contract
                                                                      t      Dispute                      Other Enforcement of Judgment
      Other PI/PDNVD (23)                        Real Property                                                  Case
           Premises Liability (e.g., slip            Em
                                                     Eminentt DDomain/Inverse
                                                                        i /I                          Miscellaneous Civil Complaint
                and fall)                                Conemnaon
                                                              d        ti (14)                            RICO (27)
           Intentional Bodily lnjury/PD/WD           Wrongful Eviction (33)                               Other Complaint (not specified
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title)(26)               above)(42)
           Intentional Infliction of                     Writ of Possession of Real Property                   Declaratory Relief Only
                Emotional Distress                       Mortgage Foreclosure                                  Injunctive Relief Only (non-
           Negligent Infliction of                       Quiet Title                                                harassment)
                 Emotional Distress                      Other Real Property (not eminent                      Mechanics Lien
           Other PI/PD/WD                                domain,    landlord/tenant,   or                      Other Commercial Complaint
  Non-Pi/PD/WD (Other) Tort                              foreclosure)                                               Case (non-tort/non-complex)
      Business Tort/Unfair
                       Unfair Business                      Detainer                                           Other Civil Complaint
          Practice (07)                              Commercial     (31)                                            (non-tort/non-complex)
      Civil Rights (e.g., discrimination,            Residena ti l(32)                                Miscellaneous Civil Petition
            false arrest)(not civil                  Drugs(38)(if the case involves illegal               Partnership and Corporate
            harassment)(08)                          drugs, check this item; otherwise,                       Governance (21)
      Defamation (e.g., slander, libel)              report as Commercial or Residential)                 Other Petition (not specified
           (13)                                  Judicial Review                                              above)(43)
      Fraud (16)                                     Asset Forfeiture (05)                                    Civil Harassment
      Intellectual Property (19)                     Petition Re: Arbitration Award (11)                      Workplace Violence
      Professional Negligence (25)                   Writ of Mandate (02)                                     Elder/Dependent Adult
          Legal Malpractice                              Writ—Administrative Mandamus                              Abuse
          Other Professional Malpractice                 Writ—Mandamus on Limited Court                       Election Contest
              (not medical or legal)                         Case Matter                                      Petition for Name Change
      Other Non-PI/PD/VVD Tort (35)                      Writ—Other Limited Court Case                        Petition for Relief From Late
  Employment                                                 Review
                                                             Rev                                                   Claim
      Wrongful Termination (36)                      Other Jdi
                                                            Judiciall Review39 ( )                            Other Civil Petition
      Other Employment(15)                               Review of Health Officer Order
                                                         Notice of Appeal—Labor
                                                               Commissioner Appeals
CM-01D[Rev. September 1,20211                                                                                                              Page 2 of 2
                                                         CIVIL CASE COVER SHEET
                          Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 27 of 36                                                    POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                       FOR COURT USE ONLY
  Mike Chappars
 Bar#:290137                                                                                           Electronically Filed
 101 Church Street Suite 30, Los Gatos, CA 95030                                                       2/7/2023 10:39 AM
                                                                                                       Superior Court of California
    TELEPHONE NO.: (408) 508-3447                      FAX NO. (OptionaQ:                              County of Stanislaus
          E-MAIL ADDRESS (Optional):                                                                   Clerk of the Court
             ATTORNEY FOR (NameJ:Plaintiff, Sabrina Nisha                                              By: Emily Prom, Deputy
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF STANISLAUS
 STREET ADDRESS: 800 11th Street
 MAILING ADDRESS:
 CITY AND ZIP CODE:Modesto, CA 95354
 BRANCH NAME: Modesto Courthouse

 PLAINTIFF/PETITIONER: SABRINA NISHA, an individual
                                                                                                       CASE NUMBER:
 DEFENDANT/RESPONDENT: AMERICOLD LOGISTICS LLC, a Deleware Limited Liability
                                                                                                       CV-23-000483
 Company;

                                                                                                       Ref. No. or File No:
                                  PROOF OF SERVICE OF SUMMONS
                                                                                                       Nisha

                                           (Separate proof of service is required for each party served)

   1. At the time of service I was at least 18 years of age and not a party to this action.
   2. I served copies of:
        a.    Complaint for Damages and Demand for Jury Trial
        b. �
           ., Civil Case Cover Sheet
        c.      .,     Summons

   3.      a. Party served (specify name of party as shown on documents served):
              AMERICOLD LOGISTICS LLC, a Deleware Limited Liability Company
           b. 0      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                    item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
                Emanuel Jacobo, Intake Specialist for Registered Agent CT Corporation System
   4. Address where the party was served:
      330 N Brand Blvd, Suite 700, Glendale, CA 91203

          a.  0
   5. I served the party (check proper box)
                   by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                   service of process for the party (1) on (date): February 1, 2023 at (time): 11 :32 am.
          b.  D    by substituted service. On (date): at (time): . I left the documents listed in item 2 with or in the presence of (name and
                   title or relationship to person indicated in item 3):

                         1. D (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                              person to be served. I informed him or her of the general nature of the papers.
                         2. D (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                              abode of the party. I informed him or her of the general natures of the papers.
                         3. D (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                   address of the person to be served, other than a United States Postal Service post office box. I informed him or
                                   her of the general natures of the papers.
                         4.   D    I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                                   place where the copies were left (Code Civ. Pree§ 415.20). I mailed the documents on
                                                         D
                                   (date): from (city): or        a declaration of mailing is attached.
                         5.   D     I attached a declaration of diligence stating actions taken first to attempt personal service.

                                                                                                                                              Page 1 of2

=arm Adopted for Mandatory Use                      PROOF OF SERVICE OF SUMMONS                                          Code of Civil Procedure,§ 417.10
 Judicial Council of California
'OS-010 [Rev. January 1, 2007]
                                          Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 28 of 36
       PLAH¢HFHPETH10NER:SABRINA NISHA, an individual
                                                                                                                                        CASE NUMBER
       DEFENDANTHRESPONDENT:AMERICOLD LOGISTICS LLC, a Deleware Limited Liability
                                                                                                                                        CV-23-000483
       Company;


               C                    E    by mail and acknowledgment of receipt of service. mailed the documents listed in item 2 to the party, to the
                                    address shown in item 4, by first-class mail, postage prepaid,
                                                                                                      |




                                            on (date):                                                     from (city):
                                       1.             with two copies of the Notice and Acknowledgment of Receiptand a postage-paid return envelope addressed to
                                                      me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                                       2.
                                            E         to an address outside California with return receipt requested. (Code Civ. Proc., § 415.30.)
               d.
                       E            by other means (specify means of service and authorizing code section):



                       E            Additional page describing service is attached.

  6. The "Notice to the Person Served" (on the summons) was completed as follows:
               a.                   as an individual defendant
               b.                   as the person sued under the ﬁctious name of (specify):
               c.                   as occupant
               d           X        On behalf of (specify):AMERlCOLD LOGISTICS LLC, a Deleware Limited Liability Company
                                    under the following Code of Civil Procedure section:
                                      X     416.10 (corporation)                                          E    415.95 (business organization, form unknown)

                                    E       416.20 (defunct corporation)                                  E    416.60 (minor)

                                    E       416.30 (joint stock company/association)                      E    416.70 (ward or conservatee)

                                    E       416.40 (association or partnership)                           E    416.90 (authorized person)

                                    E       416.50 (public entity)                                        E    415.46 (occupant)


  7.    Person who served papers
                                                                                                          E    other:


               a. Name: Joecelyn Ramos
                   .   Address: 214           Lexington St, 2, Glendale,               CA 91293
              90.no-




                   .   Telephone number: (818) 3566146
                   .   The fee for service was: $ 85.00
                       lAm:
                               1.           not a registered California process server
                               2.           exempt from registration under Business and Professions Code section 22350(b).
                               3.    I       a registered California process server:
                                                 i.

                                               ii.
                                                           owner    E    employee
                                                      Registration No.: 2019112771
                                                                                      E     independent contractor

                                               iii.   County: Los   Angeles County
  8.      X            I   declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
        Ol'

  9.    E              I   am a California sheriff or marshal and I certify that the foregoing is true and correct.

  Date: 02/03/2023
                                                                                                                                iﬁ l/
                                    Joecelyn Ramos                                             V                          gﬂg
 (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                                    (SIGNATURE)




                                                                                                                                                                 Page 2 of 2
Form Adopted for Mandatory Use                                          PROOF OF SERV'CE OF SUMMONS                                         Code of Civil Procedure, § 417.10
  Judicial Council of California
PCS-010 [Rev. January 1, 2007]
Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 29 of 36




                    EXHIBIT B
                                                    Electronically Filed
                                                    3/2/2023
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23      10:00
                                                           Page  30 AM
                                                                     of 36
                                                    Superior Court of California
                                                    County of Stanislaus
                                                    Clerk of the Court
 1   DANIELLE OCHS, CA Bar No. 178677               By: Angela Mesa, Deputy
     danielle.ochs@ogletree.com
 2   RYAN C. FINN, CA Bar No. 333209
     ryan.finn@ogletree.com
 3   OGLETREE, DEAKINS, NASH, SMOAK &
     STEWART, P.C.
 4   One Embarcadero Center, Suite 900
     San Francisco, CA 94111
 5   Telephone:    415-442-4810
     Facsimile:    415-442-4870
 6
     Attorneys for Defendant
 7   AMERICOLD LOGISTICS LLC
 8
                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                               FOR THE COUNTY OF STANISLAUS
10

11
     SABRINA NISHA, an individual,               Case No. CV-23-000483
12
                 Plaintiff,                      DEFENDANT AMERICOLD LOGISTICS,
13                                               LLC’S ANSWER TO PLAINTIFF
           vs.                                   SABRINA NISHA’S UNVERIFIED
14                                               COMPLAINT
     AMERICOLD LOGISTICS LLC, a Delaware
15   Limited Liability Company; and DOES 1       [Assigned for all purposes to The Honorable
     through 20, inclusive,                      Stacy P. Speiller, Dept. 22]
16
                 Defendants.
17
                                                 Action Filed:       January 27, 2023
18                                               Trial Date:         None Set

19

20

21

22

23

24

25

26

27

28
                                                                      Case No. CV-23-000483
     DEFENDANT AMERICOLD LOGISTICS, LLC’S ANSWER TO PLAINTIFF SABRINA NISHA’S UNVERIFIED
                                         COMPLAINT
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 31 of 36


 1           Defendant AMERICOLD LOGISTICS LLC (“Defendant”) hereby answers the unverified
 2   Complaint (“Complaint”) filed by Plaintiff SABRINA NISHA (“Plaintiff”):
 3                                 GENERAL AND SPECIFIC DENIALS
 4           Pursuant to the provisions of California Code of Civil Procedure section 431.30(d),
 5   Defendant denies, generally and specifically, each and every allegation contained in the Complaint,
 6   and further denies that Plaintiff has been damaged in the amount or amounts alleged therein, or in
 7   any other amount, or at all, by reason of any act or omission on the part of Defendant, or by any act
 8   or omission by any agent or employee of Defendant. Defendant further denies, generally and
 9   specifically, that Plaintiff is entitled to any relief whatsoever.
10           Additionally, Defendant asserts the following affirmative defenses and prays for judgment
11   as set forth below.
12                                       AFFIRMATIVE DEFENSES
13           Defendant alleges the affirmative defenses set forth herein as to each and every cause of
14   action and claim for relief asserted in the Complaint unless specified otherwise. By pleading these
15   affirmative defenses, Defendant does not assume the burden of proving any fact, issue, or element
16   of a cause of action where such burden belongs to Plaintiff.
17                                    FIRST AFFIRMATIVE DEFENSE
18                                    (Failure to State a Cause of Action)
19           1.      The Complaint, and each and every cause of action alleged therein, is barred, in
20   whole or in part, because Plaintiff fails to state facts sufficient to constitute a cause of action
21   against Defendant
22                                  SECOND AFFIRMATIVE DEFENSE
23                                           (Statute of limitations)
24           2.      The Complaint, and each and every cause of action alleged therein, is barred, in
25   whole or in part, by the applicable statute of limitations, including, but not limited to, California
26   Government Code Sections, 12960 and 12965(b).
27

28
                                             2                        Case No. CV-23-000483
     DEFENDANT AMERICOLD LOGISTICS, LLC’S ANSWER TO PLAINTIFF SABRINA NISHA’S UNVERIFIED
                                         COMPLAINT
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 32 of 36


 1                                  THIRD AFFIRMATIVE DEFENSE
 2                             (Failure to Exhaust Administrative Remedies)
 3          3.       The Complaint, and each and every cause of action alleged therein, is barred, in
 4   whole or in part, by Plaintiff’s failure to exhaust administrative remedies.
 5                                 FOURTH AFFIRMATIVE DEFENSE
 6                                      (Failure to Mitigate Damages)
 7          4.       The Complaint, and each and every cause of action alleged therein, is barred, in
 8   whole or in part, because Plaintiff has failed, refused, or neglected to mitigate or avoid the damages
 9   complained of in her Complaint
10                                  FIFTH AFFIRMATIVE DEFENSE
11                                        (Avoidable Consequences)
12          5.       The Complaint, and each and every cause of action alleged therein, is barred, in
13   whole or in part, because Plaintiff unreasonably failed to take advantage of preventive or corrective
14   measures provided by Defendant that would otherwise have prevented some or all of Plaintiff’s
15   alleged harm.
16                                  SIXTH AFFIRMATIVE DEFENSE
17                                       (After-Acquired Evidence)
18          6.       The Complaint, and each and every cause of action alleged therein, is barred, in
19   whole or in part, by the doctrine of after-acquired evidence.
20                                SEVENTH AFFIRMATIVE DEFENSE
21                                   (No Authorization or Ratification)
22          7.       The Complaint, and each and every cause of action alleged therein, is barred, in
23   whole or in part, because any unlawful or wrongful acts, to the extent they exist, taken by
24   Defendant’s agents or employees were outside the course and scope of their authority and such
25   acts, if any, were not authorized, ratified, or condoned by Defendant nor did Defendant know nor
26   should have known of such acts
27

28
                                             3                        Case No. CV-23-000483
     DEFENDANT AMERICOLD LOGISTICS, LLC’S ANSWER TO PLAINTIFF SABRINA NISHA’S UNVERIFIED
                                         COMPLAINT
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 33 of 36


 1                                 EIGHTH AFFIRMATIVE DEFENSE
 2                                              (Same Decision)
 3          8.      The Complaint, and each and every cause of action alleged therein, is barred, in
 4   whole or in part, because although Defendant denies that any protected status was a motivating
 5   factor in this case, even if it were, Defendant would have reached the same decision in the absence
 6   of such protected status
 7                                  NINTH AFFIRMATIVE DEFENSE
 8                                                    (Laches)
 9          9.      The Complaint, and each and every cause of action alleged therein, is barred, in
10   whole or in part, by the doctrine of laches.
11                                  TENTH AFFIRMATIVE DEFENSE
12                                                    (Estoppel)
13          10.     The Complaint, and each and every cause of action alleged therein, is barred, in
14   whole or in part, by the doctrine of estoppel.
15                               ELEVENTH AFFIRMATIVE DEFENSE
16                                                    (Waiver)
17          11.     The Complaint, and each and every cause of action alleged therein, is barred, in
18   whole or in part, by the doctrine of waiver.
19                                TWELFTH AFFIRMATIVE DEFENSE
20                                             (Unclean Hands)
21          12.     The Complaint, and each and every cause of action alleged therein, is barred, in
22   whole or in part, by the doctrine of unclean hands.
23                              THIRTEENTH AFFIRMATIVE DEFENSE
24                                   (Res Judicata / Collateral Estoppel)
25          13.     The Complaint, and each and every cause of action alleged therein, is barred, in
26   whole or in part, by the doctrines of res judicata and/or collateral estoppel.
27

28
                                             4                        Case No. CV-23-000483
     DEFENDANT AMERICOLD LOGISTICS, LLC’S ANSWER TO PLAINTIFF SABRINA NISHA’S UNVERIFIED
                                         COMPLAINT
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 34 of 36


 1                             FOURTEENTH AFFIRMATIVE DEFENSE
 2                                  (Conduct Reasonable and Necessary)
 3          14.     The Complaint, and each and every cause of action alleged therein, is barred, in
 4   whole or in part, because Defendant’s conduct was at all times reasonable, in complete good faith,
 5   based upon good cause, and undertaken pursuant to the terms of the applicable laws and
 6   regulations.
 7                               FIFTEENTH AFFIRMATIVE DEFENSE
 8                                (Bona Fide Occupational Qualification)
 9          15.     The Complaint, and each and every cause of action alleged therein, is barred, in
10   whole or in part, because the bona fide occupational qualifications of Plaintiff’s position were
11   reasonably necessary to Defendant’s normal operations.
12                               SIXTEENTH AFFIRMATIVE DEFENSE
13                                           (Punitive Damages)
14          16.     The Complaint, and each and every cause of action alleged therein, is barred, in
15   whole or in part, to the extent that the Complaint seeks punitive or exemplary damages, it violates
16   Defendant’s rights to protection from “excess fines” as provided in the Eighth Amendment of the
17   United States Constitution and the Constitution of the State of California and it violates
18   Defendant’s rights to substantive due process as provided in the Fifth and Fourteenth Amendments
19   of the United States Constitution and the Constitution of the State of California, and therefore fails
20   to state a cause of action supporting the punitive or exemplary damages claimed.
21                             SEVENTEENTH AFFIRMATIVE DEFENSE
22                         (No Punitive Damage Against Corporate Defendant)
23          17.     The Complaint, and each and every cause of action alleged therein, is barred, in
24   whole or in part, as Defendant is not liable to Plaintiff for punitive damages because neither
25   Defendant nor any of its officers, directors, or managing agents committed any alleged oppressive,
26   fraudulent, or malicious acts; authorized or ratified any such acts; had advance knowledge of the
27   unfitness, if any, of the employee or employees, if any, who allegedly committed such acts; or
28
                                             5                        Case No. CV-23-000483
     DEFENDANT AMERICOLD LOGISTICS, LLC’S ANSWER TO PLAINTIFF SABRINA NISHA’S UNVERIFIED
                                         COMPLAINT
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 35 of 36


 1   employed any such employee or employees with a conscious disregard of the rights or safety of
 2   others, as required by California Civil Code section 3294(b).
 3                              EIGHTEENTH AFFIRMATIVE DEFENSE
 4                                     (Appropriate Remedial Action)
 5          18.     The Complaint, and each and every cause of action alleged therein, is barred, in
 6   whole or in part, as Defendant took all reasonable steps to prevent any alleged discrimination once
 7   (and to the extent) it was made aware of Plaintiff’s complaint(s), if Plaintiff in fact complained.
 8   Wellpoint Health Networks v. Superior Court (1997) 59 Cal. App. 4th 110.
 9                              NINETEENTH AFFIRMATIVE DEFENSE
10                             (Additional Affirmative Defenses Not Waived)
11          19.     Defendant expressly reserves the right to amend this Answer should additional
12   affirmative defenses become available
13

14                                         PRAYER FOR RELIEF
15          WHEREFORE, Defendant prays for judgment as follows:
16          1.      That this action be dismissed in its entirety, with prejudice.
17          2.      That judgment be entered in favor of Defendant and against Plaintiff
18          3.      That Defendant be awarded its costs of suit and attorneys’ fees incurred herein;
19          4.      For such other and further relief as this Court may deem just and proper.
20

21   DATED: March 1, 2023                               OGLETREE, DEAKINS, NASH, SMOAK &
                                                        STEWART, P.C.
22

23

24                                                      By:
                                                              DANIELLE OCHS
25                                                            RYAN C. FINN
26                                                      Attorneys for Defendant
                                                        AMERICOLD LOGISTICS LLC
27

28
                                             6                        Case No. CV-23-000483
     DEFENDANT AMERICOLD LOGISTICS, LLC’S ANSWER TO PLAINTIFF SABRINA NISHA’S UNVERIFIED
                                         COMPLAINT
        Case 1:23-cv-00327-BAM Document 1 Filed 03/03/23 Page 36 of 36


 1                                            PROOF OF SERVICE
                                    Sabrina Nisha v. AmeriCold Logistics LLC
 2                                California Superior Court, County of Stanislaus
 3                                           Case No. CV-23-000483

 4           I am and was at all times herein mentioned over the age of 18 years and not a party to the
     action in which this service is made. At all times herein mentioned I have been employed in the
 5   County of San Francisco in the office of a member of the bar of this court at whose direction the
     service was made. My business address is One Embarcadero Center, Suite 900, San Francisco, CA
 6   94111.
 7
            On March 1, 2023, I served the following document(s):
 8
      DEFENDANT AMERICOLD LOGISTICS, LLC’S ANSWER TO PLAINTIFF SABRINA
 9                    NISHA’S UNVERIFIED COMPLAINT

10   by placing       (the original)   (a true copy thereof) in a sealed envelope addressed to:

11    Mike Chappars                                          Attorneys for Plaintiff
      LAW OFFICE OF MIKE CHAPPARS
12    101 Church Street, Suite 30
13    Los Gatos, CA 95030
      Tel:    408-508-3447
14    Fax:    408-213-5866
      E-Mail: mike@345law.com
15
            BY MAIL: I placed the envelope for collection and mailing, following our ordinary
16          business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
17          Smoak & Stewart, P.C.’s practice for collecting and processing correspondence for mailing.
            On the same day that correspondence is placed for collection and mailing, it is deposited in
18          the ordinary course of business with the United States Postal Service, in a sealed envelope
            with postage fully prepaid.
19
            BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
20          agreement of the parties to accept service by e-mail or electronic transmission, I caused the
            documents to be sent to the person[s] at the e-mail addresses listed on the attached service
21
            list. I did not receive, within a reasonable time after the transmission, any electronic
22          message or other indication that the transmission was unsuccessful.
            (State)       I declare under penalty of perjury under the laws of the State of California that
23
                          the above is true and correct.
24          Executed on March 1, 2023 at San Francisco, CA.
25

26                                                            Pamela A. Leonard
27

28

                                                         1                             Case No. CV-23-000483
                                                PROOF OF SERVICE
